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 9
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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. CR 22-00057(A)-FMO

14              Plaintiff,                   STIPULATION AND JOINT REQUEST FOR
                                             A PROTECTIVE ORDER REGARDING
15              v.                           DISCOVERY

16 JOSE MANUEL PEREZ,                        [PROPOSED] ORDER FILED
     aka “Julio Rodriguez,” and              SEPARATELY
17 STEPHANY PEREZ,

18              Defendants.

19
20        Plaintiff, United States of America, by and through its counsel

21   of record, the United States Attorney for the Central District of

22   California and Assistant United States Attorneys Matthew O’Brien and

23   Brian Faerstein, defendant JOSE MANUEL PEREZ (“defendant Jose

24   Perez”), by and through his counsel of record, Chad J. Pennington,

25   and defendant STEPHANY PEREZ (“defendant Stephany Perez” and, along

26   with defendant Jose Perez, the “defendants”), by and through her

27   counsel of record, Marilyn E. Bednarski (collectively the

28   “parties”), for the reasons set forth below, request that the Court
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 1   enter the proposed protective order (the “Protective Order”)

 2   governing the use and dissemination of (1) personal identifying

 3   information (“PII”) of real persons pursuant to Federal Rule of

 4   Criminal Procedure Rule 16(d)(1), (2) material that may contain

 5   information within the scope of the Privacy Act, and (3) information

 6   related to confidential informants and/or cooperating witnesses who

 7   may testify at trial.

 8        Introduction and Grounds for Protective Order

 9        1.    Defendants are charged in this matter with a violation of

10   18 U.S.C. § 371 (Conspiracy).       Defendant Jose Perez also is charged

11   with violations of 18 U.S.C. § 545 (Smuggling Goods into the United

12   States) and violations of 16 U.S.C. §§ 3372(a)(1), 3373(d)(1)(B)

13   (Wildlife Trafficking).      Defendant JOSE PEREZ has been granted

14   release on bond pending trial.       Defendant STEPHANY PEREZ is released

15   on bond pending trial.

16        2.    A protective order is necessary because the government

17   intends to produce to the defense materials regarding confidential

18   informants or cooperating witnesses, some of whom participated in

19   the government’s investigation and who may testify at trial.

20   Because these materials could be used to identify the confidential

21   informants or cooperating witnesses, the government believes that

22   the unauthorized dissemination or distribution of the materials may

23   compromise the ability of such persons to participate effectively in

24   future investigations in an undercover capacity and/or may expose

25   him/her to potential safety risks.

26        3.    A protective order is also necessary because the

27   government intends to produce to the defense materials containing

28   third parties’ PII.     The government believes that disclosure of this

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 1   information without limitation risks the privacy and security of the

 2   information’s legitimate owners.       Because the government has an

 3   ongoing obligation to protect third parties’ PII, the government

 4   cannot produce to defendant an unredacted set of discovery

 5   containing this information without the Court entering the

 6   Protective Order.     Moreover, PII makes up a significant part of the

 7   discovery in this case and such information itself, in many

 8   instances, has evidentiary value.          If the government were to attempt

 9   to redact all this information in strict compliance with Federal

10   Rule of Criminal Procedure 49.1, the Central District of

11   California’s Local Rules regarding redaction, and the Privacy Policy

12   of the United States Judicial Conference, the defense would receive

13   a set of discovery that would be highly confusing and difficult to

14   understand, and it would be challenging for defense counsel to

15   adequately evaluate the case, provide advice to defendant, or

16   prepare for trial.

17        4.    An order is also necessary because the government intends

18   to produce to the defense materials that may contain information

19   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

20   Information”).    To the extent that these materials contain Privacy

21   Act Information, an order is necessary to authorize disclosure

22   pursuant to 5 U.S.C. § 552a(b)(11).

23        5.    The purpose of the Protective Order is to (a) allow the

24   government to comply with its discovery obligations while protecting

25   this sensitive information from unauthorized dissemination, and

26   (b) provide the defense with sufficient information to adequately

27   represent defendant.

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 1        Definitions

 2        6.    The parties agree to the following definitions:

 3              a.    “CI Materials” includes any information relating to a

 4   confidential informant’s or cooperating witness’s prior history of

 5   cooperation with law enforcement, prior criminal history,

 6   statements, or any other information that could be used to identify

 7   a confidential informant or cooperating witness, such as a name,

 8   image, address, date of birth, or unique personal identification

 9   number, such as a Social Security number, driver’s license number,

10   account number, or telephone number.

11              b.    “PII Materials” includes any information that can be

12   used to identify a person, including a name, address, date of birth,

13   Social Security number, driver’s license number, telephone number,

14   account number, email address, or personal identification number.

15              c.    “Confidential Information” refers to any document or

16   information containing CI Materials or PII Materials that the

17   government produces to the defense pursuant to this Protective Order

18   and any copies thereof.

19              d.    “Defense Teams” includes (1) defendants’ counsel of

20   record (“defense counsel”); (2) other attorneys at defense counsels’

21   law firms who may be consulted regarding case strategy in this case;

22   (3) defense investigators who are assisting defense counsel with

23   this case; (4) retained experts or potential experts; and

24   (5) paralegals, legal assistants, and other support staff to defense

25   counsel who are providing assistance on this case.          The Defense

26   Teams do not include defendants, defendants’ family members, or any

27   other associates of defendants.

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 1        Terms of the Protective Order

 2        7.    The Protective Order will permit the government to produce

 3   Confidential Information in a manner that preserves the privacy and

 4   security of third parties.      The parties agree that the following

 5   conditions in the Protective Order will serve these interests:

 6              a.     The government is authorized to provide defense

 7   counsel with Confidential Information marked with the following

 8   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

 9   ORDER.”   The government may put that legend on the digital medium

10   (such as DVD or hard drive) or simply label a digital folder on the

11   digital medium to cover the content of that digital folder.

12              b.     If either defendant objects to a designation that

13   material contains Confidential Information, the parties shall meet

14   and confer.     If the parties cannot reach an agreement regarding

15   defendant’s objection, defendant may apply to the Court to have the

16   designation removed.

17              c.     Defendants and the Defense Teams agree to use the

18   Confidential Information solely to prepare for any pretrial motions,

19   plea negotiations, trial, and sentencing hearing in this case, as

20   well as any appellate and post-conviction proceedings related to

21   this case.

22              d.     The Defense Teams shall not permit anyone other than

23   the Defense Teams to have possession of Confidential Information,

24   including defendants, while outside the presence of the Defense

25   Teams.

26              e.     Notwithstanding the paragraph above, defendants may

27   see and review CI Materials only in the presence of a defense team

28   member, and such Defense Team member shall ensure that defendants

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 1   are never left alone with any CI Materials.         At the conclusion of

 2   any meeting with either defendant at which defendant is permitted to

 3   view CI Materials, defendant must return any CI Materials to the

 4   Defense Team member, who shall take all such materials.           Neither

 5   defendant may take any CI Materials out of the room in which

 6   defendant is meeting with defense counsel.         At no time, under no

 7   circumstance, will any Confidential Information be left in the

 8   possession, custody, or control of defendants, regardless of

 9   defendants’ custody status.

10              f.    Defendants may review PII Materials only in the

11   presence of a member of the Defense Teams, who shall ensure that

12   defendants are never left alone with any PII Materials.           At the

13   conclusion of any meeting with either defendant at which defendant

14   is permitted to view PII Materials, defendant must return any PII

15   Materials to their respective Defense Team, and the member of the

16   Defense Team present shall take all such materials with him or her.

17   Neither defendant may take any PII Materials out of the room in

18   which defendant is meeting with the Defense Team.

19              g.    Defendants may see and review Confidential

20   Information as permitted by this Protective Order, but defendants

21   may not copy, keep, maintain, or otherwise possess any Confidential

22   Information in this case at any time.

23              h.    If during a meeting in which protected materials are

24   reviewed with either defendant, such defendant writes down or

25   memorializes any data or information contained in the material, such

26   notes or other writing by defendant shall not be left with defendant

27   but taken by the member of the defense team and possessed by the

28   Defense Team as permitted by this order.

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 1              i.    The Defense Teams may review Confidential Information

 2   with a witness or potential witness in this case, including either

 3   defendant.    A Defense Team member must be present whenever any CI

 4   Materials are being shown to a witness or potential witness.            A

 5   member of the Defense Teams must be present if PII Materials are

 6   being shown to a witness or potential witness.          Before being shown

 7   any portion of Confidential Information, however, any witness or

 8   potential witness must be informed of, and agree to be bound by, the

 9   requirements of the Protective Order.        The Defense Team member shall

10   log or otherwise memorialize in his/her file such witness advisement

11   and agreement. No member of the Defense Teams shall permit a witness

12   or potential witness to retain Confidential Information or any notes

13   generated from Confidential Information.

14              j.    The Defense Teams shall maintain Confidential

15   Information safely and securely, and shall exercise reasonable care

16   in ensuring the confidentiality of those materials by (1) not

17   permitting anyone other than members of the Defense Teams,

18   defendants, witnesses, and potential witnesses, as restricted above,

19   to see Confidential Information; (2) not divulging to anyone other

20   than members of the Defense Teams, defendants, witnesses, and

21   potential witnesses, the contents of Confidential Information; and

22   (3) not permitting Confidential Information to be outside the

23   Defense Teams’ offices, homes, vehicles, or personal presence.              CI

24   Materials shall not be left unattended in any vehicle.

25              k.    To the extent that defendants, the Defense Teams,

26   witnesses, or potential witnesses create notes that contain, in

27   whole or in part, Confidential Information, or to the extent that

28   copies are made for authorized use by members of the Defense Teams,

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 1   such notes, copies, or reproductions become Confidential Information

 2   subject to the Protective Order and must be handled in accordance

 3   with the terms of the Protective Order.

 4              l.    The Defense Teams shall use Confidential Information

 5   only for the litigation of this matter and for no other purpose.

 6   Litigation of this matter includes any appeal filed by defendants

 7   and any motion filed by defendants pursuant to 28 U.S.C. § 2255.               In

 8   the event that a party needs to file Confidential Information with

 9   the Court or divulge the contents of Confidential Information in

10   court filings, the filing should be made under seal.           If the Court

11   rejects the request to file such information under seal, the party

12   seeking to file such information publicly shall provide advance

13   written notice to the other party to afford such party an

14   opportunity to object or otherwise respond to such intention.            If

15   the other party does not object to the proposed filing, the party

16   seeking to file such information shall redact any CI Materials or

17   PII Materials and make all reasonable attempts to limit the

18   divulging of CI Materials or PII Materials.

19              m.    The parties agree that any Confidential Information

20   inadvertently produced in the course of discovery prior to entry of

21   the Protective Order shall be subject to the terms of the Protective

22   Order.    If Confidential Information was inadvertently produced prior

23   to entry of the Protective Order without being marked “CONFIDENTIAL

24   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

25   shall reproduce the material with the correct designation and notify

26   defense counsel of the error.       The Defense Teams shall take

27   immediate steps to destroy the unmarked material, including any

28   copies.

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 1              n.    The parties agree that if any Confidential

 2   Information contains both CI Materials and another category of

 3   Confidential Information, the information shall be handled in

 4   accordance with the CI Materials provisions of the Protective Order.

 5              o.    Confidential Information shall not be used by the

 6   defendants or Defense Teams, in any way, in any other matter, absent

 7   an order by this Court.      All materials designated subject to the

 8   Protective Order maintained in the Defense Teams’ files shall remain

 9   subject to the Protective Order unless and until such order is

10   modified by this Court.      Within 30 days of the conclusion of

11   appellate and post-conviction proceedings, defense counsel shall

12   return all materials subject to this protective order, certify that

13   such materials have been destroyed, or certify that such materials

14   are being kept pursuant to the California Business and Professions

15   Code and the California Rules of Professional Conduct.

16              p.    In the event that there is a substitution of counsel

17   prior to when such documents must be returned, new defense counsel

18   must be informed of, and agree in writing to be bound by, the

19   requirements of the Protective Order before the undersigned defense

20   counsel transfers any Confidential Information to the new defense

21   counsel.   New defense counsel’s written agreement to be bound by the

22   terms of the Protective Order must be returned to the Assistant U.S.

23   Attorneys assigned to the case.       New defense counsel then will

24   become the respective Defense Team’s custodian of materials

25   designated subject to the Protective Order and shall then become

26   responsible, upon the conclusion of appellate and post-conviction

27   proceedings, for returning to the government, certifying the

28   destruction of, or retaining pursuant to the California Business and

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 1   Professions Code and the California Rules of Professional Conduct

 2   all PII Materials; and (2) returning to the government or certifying

 3   the destruction of all CI Materials.

 4               q.    Defense counsel agrees to advise defendants and all

 5   members of the Defense Teams of their obligations under the

 6   Protective Order and ensure their agreement to follow the Protective

 7   Order, prior to providing defendants and members of the Defense

 8   Teams with access to any materials subject to the Protective Order.

 9   Defense Counsel has conferred with defendants regarding this

10   stipulation and the proposed order thereon.

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 1               r.     Accordingly, the parties have agreed to request that

 2   the Court enter a protective order in the form submitted herewith.

 3         IT IS SO STIPULATED.

 4         DATED:     May 13, 2022            TRACY L. WILKISON
                                              United States Attorney
 5
                                              SCOTT M. GARRINGER
 6
                                              Assistant United States Attorney
 7                                            Chief, Criminal Division

 8
                                              ___/s/_________________________
 9                                            MATTHEW O’BRIEN
                                              BRIAN FAERSTEIN
10                                            Assistant United States Attorney
11
                                              Attorneys for Plaintiff
12                                            UNITED STATES OF AMERICA

13

14         DATED:     May 12, 2022            __/s/ (via email authorization)_
                                              CHAD J. PENNINGTON
15                                            Attorney for Defendant
16                                            Jose Manuel Perez

17

18         DATED:     May 12, 2022            __/s/_(via email authorization)_
                                              MARILYN E. BEDNARSKI
19                                            Attorney for Defendant
                                              Stephany Perez
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